Case 1:18-cv-02097-TNI\/| Document 2 Filed 09/12/18 Page 1 of 3

AO 440 (Rev 06/|2) Summons in a Civi|

 

UNITED STATES DISTRICT COURT

for the

District of Columbia

|HOR FERT, OLHA MALANCHAK
and
ADAM FERT

 

I’lainlijf(s)
V .

UN|TED STATES ClT|ZENSH|P AND
|NIM|GR-AT|ON SERV|CES

Civil Action No. 18_cv_02097_TNM

 

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Deferidanl(s)
SUMMONS IN A CIVIL ACTION

To: (Defendam's name and address_) UN|TED STATES C|TIZENSH|P AND |MM|GRAT|ON SERVICES,
20 Massachusetts Ave NWl
Washington DC 20529

A lawsuit has been filed against you.

Within 21 days after service ofthis summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee ofthe United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiffan answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: IV|ichae| E. Piston, Attorney at Lawl 225 Broadway, Suite 307, New York, NY10007

lf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

9/ 12/2018 /s / Michael Darby

Date.'

 

Signalm‘e ofCIerk or Depuly Clerk

 

Case 1:18-cv-O2097-TNI\/| Document 2 Filed 09/12/18 Page 2 of 3

AO 440 (Rev. 06/|2) Summons in a Civil

 

UNITED STATES DISTRICT COURT

for the
District of Columbia

lHOR FERT, OLHA MALANCHAK
and
ADAM FERT

 

Plainliff(s)

v. Civil Action No, 18-CV-02097-TNM

UN|TED STATES C|TlZENSH|P AND
ll\/||\/l|GRATlON SERV|CES

 

Defena'anl(s)
SUMMONS IN A CIVIL ACTION

To: (Defendam'sname andaddress) UN|TED STATES C|T|ZENSH|P AND l|\/||\/||GRAT|ON SERV|CES,
c/o Civil Process C|erk
United States Attorney's Office
555 4th St NW,
Washington, DC 20530

A lawsuit has been filed against you.

Within 21 days after service ofthis summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee ofthe United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: |\/|ichae| E. Piston, Attorney at Law, 225 Broadway, Suite 307, New York, NY10007

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

 
 

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CLERK OF COURT

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8/12/2018 /s/ Michael Darby

Date:

 

Signature ofC/erk or Deputy C/erk

 

Case 1:18-cv-O2097-TNI\/| Document 2 Filed 09/12/18 Page 3 of 3

AO 440 (Rev 06/12) Summons in a Civil Aclion

 

UNITED STATES DISTRICT COURT

for the

District of Columbia

|HOR FERT, OLHA MALANCHAK
and
ADA|\/| FERT

 

P/aintl`jf(s)

V_ Civil Action No. 18-CV-02097-TNM

UN|TED STATES C|T|ZENSH|P AND
|l\/ll\/IIGRATION SERV|CES

 

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Defena'anl(s‘)
SUMMONS IN A CIVIL ACTION

To: (Defendam's name andadd/»ess) UN|TED STATES C|T|ZENSH|P AND |l\/||\/||GRAT|ON SERV|CES,
c/o Attorney Genera|
US Department of Justice
950 Pennsy|vania Avenue NW
Washington, DC 25030

A lawsuit has been filed against you.

Within 21 days after service ofthis summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee oftlie United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
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whose name and address are: |Vlichael E. Piston, Aftorney at Law, 225 Broadway, Suite 307, New York, NY10007

lf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

9/12/2018 /S/ Michael Darby

Date:

 

S/`gnalm‘e ofC/erk or Deputy Cle/'k

 

